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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:06-cr-00041-MP-AK

RAYMOND REED, JR.,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on a status conference held on Wednesday, March 28,

2007. During the conference, Defendant stated that he would like to enter a change of plea, and

requested that his change of plea be scheduled for the same day as his co-defendant, Sheila

Gillins, changes her plea. This request is granted, and Defendant’s change of plea is hereby set

for Thursday, April 5, 2007, at 2:30 p.m. The Clerk is directed to set notice for Defendant’s

change of plea.



       DONE AND ORDERED this            28th day of March, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
